Case 3:24-bk-00496-BAJ Doc131 Filed 06/17/24 Pageiof3

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

GENIE INVESTMENTS, NV, INC.

CASE NO.:3:24-bk-00496-BAJ
Debtor(s).

DEBTOR’S OBJECTION TO CLAIM 24 OF LATENT LENDING, LLC

NOTICE OF OPPORTUNITY TO
OBJECT AND REQUEST FOR HEARING

If you object to the relief requested in this paper you must file a response with the Clerk of the Court at 300
N. Hogan Street, Suite 3-150, Jacksonville, Florida 32202, and serve a copy on the movant’s attorney Bryan K.
Mickler, 5452 Arlington Expressway, Jacksonville, Florida 32211 within 30 days from the dare of the attached proof
of service, plus an additional three days if this paper was served on any party by U.S. Mail.

If you file and serve a response within the time permitted, the Court will either notify you of a hearing dated
or the Court will consider the response and grant or dent the relief requested in this paper without hearing. If you do
not file a response within the time permitted, the Court will consider that you do not oppose the relief requested in the
paper, and the Court may grant or deny the relief requested without further notice or hearing.

You should read these papers carefully and discuss them with your attorney if you have one. If the paper is
an objection to your claim in this bankruptcy case, your claim may be reduced, modified, or eliminated if you do not
timely file and serve a response.

The Debtor objects to the claim amount of $1.8M as stated in the Proof of Claim. The Debtor would
show that it is owed $600,000.00 on a defaulted loan owed by this creditor. That amount should be offset
from the total amount of the claim filed by the creditor. The Debtor objects to Claim 24 filed by Latent
Lending, LLC (Acct No.: “0000”) to the extent that it exceeds $1,200,000.00 as an allowed amount.

The Debtor would show that the claim amount is disputed based on documents attached. Therefore,

PROOF OF SERVICE

Bryan K. Mickler, under penalty of perjury, states that a copy of the foregoing Objection was
furnished by either U.S. Mail, postage prepaid or CM/ECF electronic filing to:

United States Trustee Office
400 W. Washington Street, Suite 1100
Orlando, Florida 32801
Case 3:24-bk-00496-BAJ Doc131 Filed 06/17/24 Page 2of3

which is the place they regularly conduct their business; and to:

Latent Lending, LLC

c/o Mark Steiner, Manager/Managing Agent

302 N. Abajo Peak Way

Heber City, UT 84032

which is the place he regularly conducts his business.

this \ day of June, 2024.
Law Offices of Mickler & Mickler, LLP

By:__/s/ Bryan K. Mickler
BRYAN K. MICKLER

Attorney for Debtor

5452 Arlington Expressway

Jacksonville, FL 32211

(904) 725-0822/FAX: 725-0855

Florida Bar No. 091790
Case 3:24-bk-00496-BAJ Doc131 Filed 06/17/24 Page 3of3

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

GENIE INVESTMENTS NV, INC.
CASE NO.:3:24-bk-00496-BAJ
Debtor(s).

DECLARATION CONCERNING DEBTOR’S OBJECTION
TO CLAIM 24 OF LATENT LENDING, LLC

I declare under penalty of perjury that the foregoing is true and correct.

Executed on: 06-17-2024

Signature: Qehn Whechal Cohan

John Michael Cohan, as Director

